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 8                                IN THE UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   A.F.P. and J.F.C.,                                Case No. 1:21-cv-00780-ADA-EPG

12                         Plaintiffs,
                                                       NOTICE OF SETTLEMENT
13                           v.

14   United States of America,

15                         Defendant.

16

17          Pursuant to Local Rule 160, the United States hereby informs the Court that the parties have

18 reached an agreement to settle this matter. The United States anticipates that it could take a few months

19 to get final approvals from Washington D.C., payments made, and dispositional documents done.

20 Accordingly, the parties request up to and through December 20, 2023, to file the dismissals with
21 prejudice.

22

23 DATED: September 18, 2023                            PHILLIP A. TALBERT
                                                        United States Attorney
24
                                                 By:    /s/ Kelli L. Taylor
25                                                      KELLI L. TAYLOR
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26                                                      Assistant United States Attorneys
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28

     Notice of Settlement                                                                           1
     A.F.P./J.F.C. v. United States, 1:21-cv-780 ADA EPG
